 

1 Filed on 01/02/08 in TXSD Page 1of1

    

*e Case 1:08-mj-00014 ot
AO 91 (Rev. 5/85) Criminal Complaint

United States Di

 

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FILED
SOUTHERN DISTRICT OF . TEXAS
JAN VO 22008
UNITED STATES OF AMERICA Mica. iy
V. CRIMINAL COMPLAI Court
Johnny RAZO
. casENUMBER: [3-OS-/4 WAT

I, the undersigned complainant being duly sworn state the following is true and correct to the best of my

 

knowledge and belief. On or about January 1, 2008 in Cameron county, in the
Southern District of Texas defendant did,

knowingly and intentionally possess with intent to distribute approximately 10.3 kilograms of cocaine, and
ersons known and unknown did knowingly and intentionally enter into an agreement to possess with the
intent to distribute approximately 10.3 kilograms of cocaine, which is a schedule II controlled substance

in violation of Title 21 United States Code, Section(s) 841 & 846

I further state that I am a(n) U.S. Immigration & Customs and that this complaint is based on the
Enforcement Special Agent

following facts: On January 1, 2008, at approximately 10:30 p.m., Johnny RAZO entered the United States
from Mexico at the B&M International Bridge, Brownsville, Texas. RAZO was driving a 1994 Ford
Explorer and was referred to the secondary inspection area. In the secondary inspection area, a search of the
Explorer by U.S. Customs & Border Protection Officers resulted in the discovery of 10.3 kilograms of
cocaine.

  
    

Continued on the attached sheet and made a part of hereof: ClYes [XJNo

Signature of Complainant
Sworn to before me and subscribed in my presence,

January 2, 2008 at Browgtville, pKa

Date City ap State
John Wm. Black, U.S. Magistrate Judge
Name & Title of Judicial Officer ire of Judicial Officer
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